Case 2:19-cv-00063-CW Document 4-2 Filed 01/29/19 PageID.78 Page 1 of 3




                        Exhibit 2
     Case 2:19-cv-00063-CW Document 4-2 Filed 01/29/19 PageID.79 Page 2 of 3




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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION

                                                 *
Federal Trade Commission                         *       Case No.: 19-cv-00063 (CW)
                                                 *
v.                                               *       Honorable Clark Waddoups
                                                 *
Fat Giraffe Marketing Group LLC, et al.          *       CERTIFICATE OF SERVICE
                                                 *
                                                 *

         I hereby certify that on January 29, 2019, I electronically filed the Motion for Entry of

Stipulated Order for Permanent Injunction and Monetary Judgment with the Clerk of the Court

for the United States District Court for the District of Utah using the Court’s CM/ECF system. I

further certify that I served the foregoing on the parties via electronic mail to counsel identified

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  Case 2:19-cv-00063-CW Document 4-2 Filed 01/29/19 PageID.80 Page 3 of 3




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Dated: January 29, 2019            Respectfully submitted,

                                   __/s/ Savvas S. Diacosavvas_____
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